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|N THE UN|TED STATES D|STRICT COUFtT f L
FOR THE WESTERN D|STRICT OF TENNESSEE{].§ &U§ ..} P;.§ l2: 39

WESTERN DlViS|ON

 

 

UN|TED STATES OF AMER|CA,
Piaintift,

VS.
CR. NO. 05-20040-B

W|LLIE E. TAYLOR,

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PEFi|OD OF EXCLUDABLE DELAY
AND SETTlNG

 

This cause came on for a report date on Ju|y 25, 2005. At that time, counsel for the
defendant requested a continuance and a change of plea setting

The Court granted the request and set ch£ge of plea date for lVlondav. August15,
2005 at 9:15 a.m., in Courtroom 1, 11th F|oor of the Federal Bui|ding, Memphis, TN.

Time through August 12, 2005 was previously excluded under 18 U.S.C. §

3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional time to

prepare outweigh the need fora speedy trial
§-s

day of cluty, 2005.

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with Ftu|e 55 and/or 32{b) FHCrP on _

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This notice confirms a copy of the document docketed as number 25 in
case 2:05-CR-20040 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

